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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                v.                            :
                                              : Criminal No. 17-cr-182 (RDM)
GEORGE PAPADOPOULOS                           :
                                              :
                Defendant.                    :

                                    STATUS REPORT

       The parties respectfully request that in lieu of the telephonic conference currently set for

January 22, 2018, the parties provide a joint status report within ninety days, no later than April

23, 2018.


                                                      ROBERT S. MUELLER, III
                                                      Special Counsel


                                              By:     ______/s/_________________
                                                      Jeannie S. Rhee
                                                      Andrew D. Goldstein
                                                      Aaron S.J. Zelinsky
                                                      The Special Counsel’s Office

cc: Thomas M. Breen
    Robert W. Stanley
